         Case 1:10-cr-00287-AWI Document 110 Filed 01/04/12 Page 1 of 1


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 7                          IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                  EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                       )   1:10-cr-287 AWI
                                                     )
11                           Plaintiff,              )   ORDER CONTINUING HEARING ON
                                                     )   DEFENDANT’S MOTION TO SUPPRESS
12                                                   )
                                      v.             )
13                                                   )
     FERNANDO AVILA, et. al.,                        )
14                                                   )
                             Defendants.             )
15                                                   )
                                                     )
16
17           The United States of America, by and through Benjamin B. Wagner, United States Attorney,
18   and Kathleen A. Servatius, Assistant United States Attorney, and the defendants, by and through
19   their attorneys, having stipulated and agreed that the motion to suppress in this case, currently
20   scheduled for January 3, 2012, be continued until January 17, 2012, at 1:30 p.m., and good cause
21   appearing therefore;
22           IT IS FURTHER ORDERED THAT the motion to suppress filed in this matter shall be
23   continued to January 17, 2012 at 1:30 p.m., the date and time previously set for the trial confirmation
24   in this case.   The government’s response will be filed on or before January 5, 2012 and any reply by
25   January 11, 2012.
26   IT IS SO ORDERED.
27
     Dated:     January 3, 2012
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     0m8i78                                              CHIEF UNITED STATES DISTRICT JUDGE

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